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                        UNITED STATES DISTRICT COURT
                                         District of Minnesota



Appliance Recycling Centers of America, Inc.,
                                                          JUDGMENT IN A CIVIL CASE
                                     Plaintiff(s),
v.                                                        Case Number:     18-cv-2832 (JRT/HB)
Protiviti, Inc.,
                                     Defendant(s).


     ☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
       been tried or heard and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED THAT:


       This action is DISMISSED WITH PREJUDICE, each party to bear its own costs,
       disbursements, and attorney’s fees.

       Date: March 29 2019                                     KATE M. FOGARTY, CLERK

                                                                      s/Jennifer Beck
                                                          (By) Jennifer Beck, Deputy Clerk
